
Green, J.
delivered the opinion of the court.
This is a petition filed in Perry circuit court against the defendants, the administratrix of Jesse Maxwell, deceased, and her sureties, for a distributive share of the estate.
The defendants demurred on the ground that the circuit courts have no jurisdiction of such cause of action. The demurrer was sustained, and the petitioners appealed to this court.
*447By the act of 1835, all chancery jurisdiction is transferred from the circuit to the chancery courts, except “petitions relative to dower and partition and suits for divorce.” Unless, therefore, the jurisdiction now invoked has been conferred by some subsequent act, it does not exist.
The act of 1827, ch. 156, s. 1, provides, “That the circuit courts shall have concurrent jurisdiction with the chancery courts, of all cases of petitions or bills for the division of slaves and other personal property, and shall decree accordingly.” The jurisdiction conferred by this act is limited to suits for the division of personal property which may belong in common to the complainant and others; it does not, therefore, reach the case before us.
. This suit seeks to compel the administratrix to account, and having ascertained by such account the distributive share of complainants, they pray for a decree of the same against the administratrix and her sureties in the bond. This is attempting to go far beyond the letter and meaning of the act of 1827. Affirm the judgment.
